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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORDA




  COPYRIGHT ENFORCEMENT
  SPECIALISTS, INC.,
  Plaintiff,
  vs.
  CLBL Inc., Excalibur Entertainment,
  Inc., Ravana LLC., Adam Weidhorn and
  Feisty Media, Inc.,
  Defendants.
  ___________________________________________/


                                      PLAINTIFF’S COMPLAINT
           The Plaintiff, Copyright Enforcement Specialists, Inc., sues the defendants, alleging:
        1. This is an action by Copyright Enforcement Specialists, Inc., (“Specialist”) the assignee

           of the copyright and other intellectual property rights of Harlem Productions (“Harlem”),

           Freakdorm (“Freakdorm”), Dirty New York (“Dirty”) and Latino Fan Club (“Latino”).

           JURISDICTION

        2. This Court has exclusive subject matter jurisdiction over Plaintiff’s claims for copyright

           infringement and related claims pursuant to 17 U.S.C. 101 and 28 U.S.C. 1331 and

           1338(a).

        FACTS COMMON TO ALL CLAIMS




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     3. The claims against the varying defendants arise out of a common nucleus of facts,

        involving the same works, same source of infringing content and common questions of

        law.

     4. Adam Weidhorn (“Weidhorn”) is a former employee of Global Media Films

        International, Inc.

     5. Global Media Films International, Inc., is the producer, copyright owner and sole

        distributor for Harlem series motion pictures.

     6. Global Media Films International, Inc., is the producer, copyright owner and sole

        distributor for Freakdorm series motion pictures.

     7. Global Media Films International, Inc., is the producer, copyright owner and sole

        distributor for Dirty New York series motion pictures.

     8. Global Media Films International, Inc., is the assignor of the exclusive distribution rights

        and right to enforce the copyrights of Latino Fan Club.

     9. Copyright Enforcement Specialists, Inc., is a corporation formed under the laws of the

        State of Florida, with its principal office in Miami, Florida, within the Southern District

        of Florida.

     10. Global Media Films International, Inc., has assigned the copyrights of Dirty, Harlem and

        Freakdorm to Copyright Enforcement Specialists, Inc. and all accrued causes of action

        for infringement.

     11. Global Media Films International, Inc., has assigned accrued causes of action for

        infringement to Copyright Enforcement Specialists, Inc. for Latino.

     12. Latino Fan Club is one of the premier erotic video series produced, and the owner,

        producer and director is well known within the industry, as are the distributors.



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     13. Claims of copyright for all of the works in this Complaint have been registered with the

        Library of Congress as follows:

            a. Latino Fan Club- PA2-302-231

            b. Harlem, Freakdorm, Dirty New York: PA2-305-970

     14. Weidhorn, as an employee of Global Media International Films, Inc., had access to the

        masters, replicated DVDs and DVD art for Dirty, Latino, Harlem and Freakdorm motion

        pictures. Weidhorn duplicated the copyright works of Latino, Harlem, Dirty and

        Freakdorm after being fired and sold the illegal copies (“bootlegs”) in violation of

        Plaintiff’s Exclusive Rights under the Copyright Act.

     15. Weidhorn falsely assured purchasers that his company, “Global Media Films” had taken

        over the rights to Dirty, Latino Fan Club, Freakdorm and Harlem and that the DVDs were

        lawful products.

     16. Weidhorn conducted business as GLOBAL MEDI INTERNATIONAL INC: D-U-N-S

        number: 129439347 (sic) despite their being no such corporation, in an effort to use a

        confusingly similar name to Global Media International Films, Inc.

     17. On or about April 26, 2020, Plaintiff demanded that Weidhorn cease distribution of

        Latino, Harlem and Freakdorm products.

     18. Weidhorn responded to Plaintiff’s demand via text messages conceding that he

        distributed bootlegs of Latino and cursed and expressed contempt for the owner of Latino

        Fan Club.

                                             COUNT I

     Plaintiff sues the Defendants, CLBL, Inc., a Connecticut Corporation d/b/a CD Universe, and

  Adam Weidhorn, alleging:



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     19. Plaintiff incorporates the previous paragraphs in full.

     20. On or about 6/1/2021, the defendant, CLBL, Inc., d/b/a “CD Universe” operated a fully

        interactive web site for sale of adult DVDs targeting customers throughout the United

        States.

     21. The site targeted residents of Florida and entered into transactions with residents of the

        State of Florida, the defendant availing itself of the laws and protections of the State of

        Florida.

     22. CD Universe offered for sale 8 DVDs of Harlem’s copyright product and 32 of Latino’s

        Copyright Product and 2 Dirty New York, 1 Freakdorm products, as stated in full in

        Exhibit 1.

     23. Based on information and belief, Weidhorn is the source of the bootlegs offered for sale

        by defendant CD Universe.

     24. Prior to Plaintiff notifying Defendant of the infringement, Defendant knew or should

        have known the sole lawful distributors of Dirty, Harlem and Latino but purchased from

        a bootlegger.

     25. On or about June 16, 2021, Defendant received a letter from counsel for Dirty, Harlem

        and Latino demanding an accounting of sales and advising the Defendant that it was not

        authorized to sell the items it had on offering through its infringing website.

     26. On or about June 21, 2021, Defendant received a second letter from counsel for Dirty,

        Harlem and Latino insisting that infringement cease at once and demanding that all

        records related to the sales of the infringement be retained.

     27. On or about June 25, 2021, Defendant received a third letter from counsel for Dirty,

        Harlem and Latino restating the demands.



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     28. Defendant replied to none of the demand letters sent by Plaintiff.

     29. Plaintiff has been damaged by sales made by Defendant of infringing goods.

     30. Defendant has received profits attributable to the infringement of the copyright of Harlem

         and Latino products. Defendant’s profits are recoverable by Plaintiff pursuant to 17

         U.S.C. 504(c)(2).

     31. Plaintiff is entitled, at its election, to an award of statutory damages for the copyright

         infringement herein pursuant to 17 U.S.C. 504(c)(2).

     32. Plaintiff has agreed to pay its attorney a reasonable fee for his services.

     33. Plaintiff is entitled to its attorney’s fees and costs pursuant to 17 U.S.C. 505, and as

         otherwise provided by law.

         WHEREFORE, Plaintiff demands judgment for the following relief jointly and severally

         against the defendants

            a. For an accounting of, and the imposition of a constructive trust with respect to

                Defendant’s profits attributable to infringement of Plaintiff’s Assignor’s

                Copyright, or in Plaintiff’s election, an award of statutory damages for each of the

                42 titles, including statutory damages for willful infringement;

         b. An award of reasonable attorney’s fees and costs

         c. Such other and further relief as the Court deems just and proper and is available under

            the law.

                                              COUNT II

         Plaintiff sues the Defendants, Excalibur Entertainment, Inc., a California Corporation

  d/b/a Excaliburfilms.com, and Adam Weidhorn, alleging:

     34. Plaintiff incorporates the previous paragraphs in full.



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     35. Excalibur Entertainment, Inc., (“Excalibur”) is a California Corporation.

     36. Excalibur offered for sale 1 DVD of Latino’s copyright product and 3 DVDs of

        Freakdorm’s copyright product, as stated in full in Exhibit 1.

     37. On or about 6/1/2021, the defendant, CLBL, Inc., d/b/a “CD Universe” operated a fully

        interactive web site for sale of adult DVDs targeting customers throughout the United

        States.

     38. The site targeted residents of Florida and entered into transactions with residents of the

        State of Florida, the defendant availing itself of the laws and protections of the State of

        Florida.

     39. Based on information and belief, Weidhorn is the source of the bootlegs offered for sale

        by defendant .Excalibur.

     40. Prior to Plaintiff notifying Defendant of the infringement, Defendant knew or should

        have known the sole lawful distributors of Latino and Freakdorm but purchased from a

        bootlegger.

     41. On or about June 4, 2021, defendant received a letter from counsel for Latino and

        Freakdorm demanding an accounting of sales and advising the defendant that it was not

        authorized to sell the items it had for on offering through its infringing website.

     42. On or about June 21, 2021, defendant received a second letter from counsel for

        Freakdorm and Latino insisting that infringement cease at once and demanding that

        defendant retain all records related to the infringement.

     43. Defendant did not respond to the demand letters stated above.

     44. Plaintiff has been damaged by sales made by Defendant of infringing goods.




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     45. Defendant has received profits attributable to the infringement of the copyright of

        Freakdorm and Latino products. Defendant’s profits are recoverable by Plaintiff pursuant

        to 17 U.S.C. 504(c)(2).

     46. Plaintiff is entitled, at its election, to an award of statutory damages for the copyright

        infringement herein pursuant to 17 U.S.C. 504(c)(2).

     47. Plaintiff has agreed to pay its attorney a reasonable fee for his services.

     48. Plaintiff is entitled to its attorney’s fees and costs pursuant to 17 U.S.C. 505, and as

        otherwise provided by law.

        WHEREFORE, Plaintiff demands judgment for the following relief jointly and severally

        against the defendants

            a. For an accounting of, and the imposition of a constructive trust with respect to

                Defendant’s profits attributable to infringement of Plaintiff’s Assignor’s

                Copyright, or in Plaintiff’s election, an award of statutory damages for each of the

                4 titles, including statutory damages for willful infringement;

            b. An award of reasonable attorney’s fees and costs

            c. Such other and further relief as the Court deems just and proper and is available

                under the law.

                                              COUNT III

        Plaintiff sues the Defendants, Feisty Media, Inc., a California Corporation d/b/a

  Pornteam.com, and Adam Weidhorn, alleging:

     49. Plaintiff incorporates the previous paragraphs in full.




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     50. Feisty Media, Inc., is a California Corporation that is presently suspended from

        operations by the California Franchise Tax Board. As a suspended corporation, Feisty,

        Inc., is forbidden from defending legal actions by California, its state of incorporation.

     51. On or about 6/1/2021, the defendant, Feisty, Inc., d/b/a Pornteam.com (“Pornteam”)

        operated a fully interactive web site for sale of adult DVDs.

     52. Pornteam offered for sale 7 DVDs of Latino’s copyright product, as stated in full in

        Exhibit 1.

     53. The site targeted residents of Florida and entered into transactions with residents of the

        State of Florida, the defendant availing itself of the laws and protections of the State of

        Florida.

     54. Based on information and belief, Weidhorn is the source of the bootlegs offered for sale

        by defendant Pornteam.

     55. Prior to Plaintiff notifying Defendant of the infringement, Defendant knew or should

        have known the sole lawful distributors of Latino but purchased from a bootlegger.

     56. On or about June 4, 2021, defendant received a letter from counsel for Latino demanding

        an accounting of sales and advising the defendant that it was not authorized to sell the

        items it had on offering through its website.

     57. Defendant did not respond to the demand letter.

     58. Plaintiff has been damaged by sales made by Defendant of infringing goods.

     59. Defendant has received profits attributable to the infringement of the copyright of Latino

        products. Defendant’s profits are recoverable by Plaintiff pursuant to 17 U.S.C.

        504(c)(2).




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     60. Plaintiff is entitled, at its election, to an award of statutory damages for the copyright

        infringement herein pursuant to 17 U.S.C. 504(c)(2).

     61. Plaintiff has agreed to pay its attorney a reasonable fee for his services.

     62. Plaintiff is entitled to its attorney’s fees and costs pursuant to 17 U.S.C. 505, and as

        otherwise provided by law.

        WHEREFORE, Plaintiff demands judgment for the following relief jointly and severally

        against the defendants

            a. For an accounting of, and the imposition of a constructive trust with respect to

                Defendant’s profits attributable to infringement of Plaintiff’s Assignor’s

                Copyright, or in Plaintiff’s election, an award of statutory damages for each of the

                7 titles, including statutory damages for willful infringement;

            b. An award of reasonable attorney’s fees and costs

            c. Such other and further relief as the Court deems just and proper and is available

                under the law.

                                              COUNT IV

        Plaintiff sues the Defendants, Ravana, LLC a Pennsylvania Limited Liability Company

  d/b/a Gay DVD Empire (“Ravana”) and Adam Weidhorn, alleging:

     63. Plaintiff incorporates the previous paragraphs in full.

     64. Ravana is a Pennsylvania Limited Liability Company.

     65. On or about 6/1/2021, the defendant Ravana LLC (“Ravana”) operated a fully interactive

        web site for sale of adult DVDs at gaydvdempire.com.




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     66. The site targeted residents of Florida and entered into transactions with residents of the

        State of Florida, the defendant availing itself of the laws and protections of the State of

        Florida.

     67. Ravana offered for sale 62 titles of Harlem, 32 titles of Dirty and 56 of Latino and 28

        Freakdorm DVDs of Latino’s copyright product, as stated in full in Exhibit 1.

     68. Weidhorn is the source of the bootlegs offered for sale by defendant Ravana.

     69. On or about June 4, 2021, defendant received a letter from counsel for Dirty, Harlem and

        Latino demanding an accounting of sales and advising the defendant that it was not

        authorized to sell the items it had on offering through its website.

     70. Defendant responded conceding that it had purchased goods from Weidhorn, but did not

        agree to cease distribution or provide an accounting.

     71. Prior to Plaintiff notifying Defendant of the infringement, Defendant knew or should

        have known the sole lawful distributors of Dirty, Harlem and Latino but purchased from

        a bootlegger.

     72. Plaintiff has been damaged by sales made by Defendant of infringing goods.

     73. Defendant has received profits attributable to the infringement of the copyright of Dirty,

        Harlem and Latino products. Defendant’s profits are recoverable by Plaintiff pursuant to

        17 U.S.C. 504(c)(2).

     74. Plaintiff is entitled, at its election, to an award of statutory damages for the copyright

        infringement herein pursuant to 17 U.S.C. 504(c)(2).

     75. Plaintiff has agreed to pay its attorney a reasonable fee for his services.

     76. Plaintiff is entitled to its attorney’s fees and costs pursuant to 17 U.S.C. 505, and as

        otherwise provided by law.



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         WHEREFORE, Plaintiff demands judgment for the following relief jointly and severally

         against the defendants

            a. For an accounting of, and the imposition of a constructive trust with respect to

                Defendant’s profits attributable to infringement of Plaintiff’s Assignor’s

                Copyright, or in Plaintiff’s election, an award of statutory damages for each of the

                106 titles, including statutory damages for willful infringement;

            b. An award of reasonable attorney’s fees and costs

            c. Such other and further relief as the Court deems just and proper and is available

                under the law.

  Respectfully submitted,



                                       _____/s/________________
                                       Herbert R Kraft
                                       3030 N Rocky Point Drive W., Suite 150
                                       Tampa Florida 33607
                                       Attorney for Plaintiff
                                       310-961-7533
                                       Fax: 310-756-1920
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  Exhibit 1- Infringing titles offered for sale

  CD Universe

  Paragraph 22

  DVDs offered for sale:

  Latino Fan Club:

             i.   #3

           ii.    BestStr8 But Curious

           iii.   Horse-Hung Hispanics

           iv.    Alejandro the Great

            v.    Club Coqui # 3

           vi.    Partners in Crime

          vii.    Latin Muscle

         viii.    Savage Urban Desires

           ix.    Barrio Life

            x.    Dirty Vice Cop

           xi.    Dollars for Dicks

          xii.    Salsa City

         xiii.    Queen’s Plaza Pickup # 4

         xiv.     Pros & Cons # 2

          xv.     Big Latin Brother

         xvi.     Teen Hustler # 3

         xvii.    Best of the Best


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          xviii.   Blazin Blowjobs

           xix.    Latin Gold

            xx.    Latin Gold # 2

           xxi.    Still Working Hard

          xxii.    Meat Market

  East Harlem:

              i.   Da Boyz from Ahhz

             ii.   Melts in Yo Mouth

            iii.   Thug Dream in the Hood

             iv.   Jockin Jay’s Dick

             v.    Locked N Loaded

             vi.   Cuban Cigars # 2

            vii.   Latin Heat

           viii.   Hardcore Homeboys




  Freakdorm:

           Gym Class

  Dirty New York

     i.    First Time Swallowers # 2

    ii.    Built to <>


  Excalibur
  Paragraph 36

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  Latino Fan Club

     i.   Keep it Real

  Freakdorm

     i.   Freakdorm

    ii.   Class Reunion

   iii.   Freakdorm 3


  Feisty Media, Inc.

  Paragraph 52


  Latino Fan Club

     i.   Unlawful Sexual Contact

    ii.   Sex in East Harlem

   iii.   Latino Grande

   iv.    Rent a Ruffneck

    v.    Dirty Vice Cop

   vi.    Bike Boyz

   vii.   Barrio Life

  Ravana

  Paragraph 67


  Dirty New York
     i.   <> My Face


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    ii.    <> the fag

    iii.   Anal Sex

    iv.    Ass Assault

     v.    Back *Door <>

    vi.    Balls Deep

   vii.    Black Anal Cream

  viii.    Black Assholes

    ix.    Black Lighthing

     x.    Blowing it up

    xi.    Built 2 <>

   xii.    Busting the Ass

  xiii.    Chasing Loads

  xiv.     Chode a

   xv.     Choking

  xvi.     Cum Drunk

  xvii.    Cum Guzzlers

 xviii.    Dirty Lover

  xix.     Eat Ass

   xx.     Fill My Ass

  xxi.     First Time Swallowers

  xxii.    Gagging Gundel

 xxiii.    Grit Grime

 xxiv.     Heavy Loads



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  xxv.     Knock EM Out

 xxvi.     Poke my hole

 xxvii.    Pretty <>

xxviii.    Riding Hard

 xxix.     Street Meet

  xxx.     Thugs down under

 xxxi.     Turn the <> Out

 xxxii.    Up my Ass

   East Harlem
      i.   Back Breaking

    ii.    Banger Borthuaz

    iii.   Behind Thug Door

    iv.    Big Baller

     v.    Big Black Bad Boyz- Whatca Gonna Do

    vi.    Big Black Daddies

   vii.    Big Pumpin

  viii.    Black Beauties

    ix.    Black Boyz with big Toys

     x.    Black Door 2 Da Hood

    xi.    Black Kings

   xii.    Black Stallion

  xiii.    Cuban Cigars

   xiv.    Cum Club

   xv.     Da Boyz Ahhz 2

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    xvi.   Da Boyz from Aahz

   xvii.   Dark Meat

  xviii.   Dirty Animal

    xix.   Dirty Dreams

    xx.    Doing Big Things

    xxi.   Evil Angels

   xxii.   Filthy <>

  xxiii.   Fire in Da Hole

  xxiv.    Floss In

   xxv.    Freak Me Like That

  xxvi.    Gangsta Heat

  xxvii.   Get Money

 xxviii.   Get Money 2

  xxix.    Get Money 3

   xxx.    Get that Money

  xxxi.    Group Home

  xxxii.   Hard Humpin

 xxxiii.   Hard Rail

 xxxiv.    Hardcore Homeboys

  xxxv.    Harlem Homeboys

 xxxvi.    Home Alone In the hood

xxxvii.    Homeboy Housecall

xxxviii.   Hood Rats



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xxxix.     Hookin Up in the Hood

    xl.    Jockin Jay’s Dick

    xli.   Latin Heat

   xlii.   Locked and Loaded

  xliii.   My <> Dreams

  xliv.    NYC Thugs

   xlv.    Pretty Player

  xlvi.    Secrets from the Hood

 xlvii.    Sex Trihh

 xlviii.   Shot Caller

  xlix.    Smoking Boy Thug

      l.   Stick Shiftin

     li.   The Brotherhood

    lii.   Thug Dreamin in the Hood

   liii.   Thug Lovin

    liv.   Thugging it up the hard way

    lv.    Thugs Dick

    lvi.   Thugs R Us

   lvii.   Times Square Pick Up 2

  lviii.   Times Square Pickup



   Freakdorm
      i.   <> Phat

     ii.   <> Sandwich
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    iii.   Black Homies

    iv.    Blowin the Homies

     v.    Breaking all the Rules

    vi.    Chocolate Week

   vii.    Class Reunion

  viii.    Copy that Joint

    ix.    Cracking the Books

     x.    Final Exams

    xi.    Freak Lunchbreak

   xii.    Freakdorm

  xiii.    Freakdorm 2

  xiv.     Freakdorm 3

   xv.     Freaky <>

  xvi.     Freaky Fudge Packers

  xvii.    Fudge popes

 xviii.    Git Ya Nutt

  xix.     Greek Week

   xx.     Lecture Halls

  xxi.     Measure Up

  xxii.    Overnight Detention

 xxiii.    Private lessons

 xxiv.     Sex ed

  xxv.     Study Buddies



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 xxvi.     Thugs at school

 xxvii.    We go hard

xxviii.    Young money, dark meat

   Latino Fan Club
      i.   9” New Yorkicans

    ii.    Alejandro the Great

    iii.   Alejandro the Unconquerted

    iv.    Angel’s Amigos

     v.    Barrio Bordello

    vi.    Barrio Life

   vii.    Best of the Best

  viii.    Bike Boyz

    ix.    Blazing BJ

     x.    Boners in Boxers

    xi.    Boss’s Boy

   xii.    Boyz in the Crib

  xiii.    Caliente

   xiv.    Club Coqui

   xv.     Cock Doctor

   xvi.    Criminal Behavior

  xvii.    Dirty Damez

 xviii.    Dirty Vice Cop

   xix.    Doing time 2069

   xx.     Dr. Penis Erection

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    xxi.    Dr. will see you now

   xxii.    El Barrio

  xxiii.    Fantastic Foreskin

  xxiv.     Fuego

   xxv.     Hard at Work

  xxvi.     Horse Hung Hispanic

  xxvii.    Horse Hung Vol 18

 xxviii.    Horse Hung Vol 19

  xxix.     Hot sheets hideaway

   xxx.     How I Spent My Summer Vacation

  xxxi.     Tiger Tyson

  xxxii.    Latino Grande

 xxxiii.    Latin Boyz Gone Wild

 xxxiv.     Latin Gold

  xxxv.     Latin Lollipops

 xxxvi.     Latin Showboyz

xxxvii.     Latin Thugz

xxxviii.    Latinos in the Lockerroom

 xxxix.     New Horsehung Hispanics

     xl.    On the Lowdown

    xli.    Parole Officer Perez

   xlii.    Parole Officer Perez 2

   xliii.   Peeping Jan



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  xliv.    Prison Doctor

   xlv.    Ruffneck Rehad

  xlvi.    Ruffneck Rheab

 xlvii.    Salsa City

 xlviii.   Secret Cell Block 6

  xlix.    Sex in East Harlem

      l.   Six Slave City

     li.   Spanish Lessons

    lii.   Still Cuckoo

   liii.   Still Working Hard

    liv.   Super sized

    lv.    Super Sized

    lvi.   Teen Hustler 4

   lvii.   Teen Hustler Workiung Hard

  lviii.   Ultimate Ruffneck

    lix.   Unlawful Sexual

    lx.    Urgan Jungle

    lxi.   Viper Revealed




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